                Case 23-30980-mvl7                       Doc 1            Filed 05/17/23 Entered 05/17/23 17:00:03                              Desc Main
                                                                          Document Page 1 of 99
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Northern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Olamide
       Write the name that is on your         First name                                                      First name
       government-issued picture               Olatayo
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Bello
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any             Ajide Technology
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.       Obello Solutions
                                              Business name (if applicable)                                   Business name (if applicable)
                                              See continuation page.



  3.   Only the last 4 digits of your
                                              xxx - xx - 9           8     2   1                              xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Olamide             Olatayo                       Bello                                          Case number (if known)
                     First Name          Middle Name                   Last Name


                                          About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification        8       4    -    2    9     3      3   9       7   9                        -
       Number (EIN), if any.              EIN                                                               EIN

                                           8       2    -    4    4     6      3   0       2   3                        -
                                          EIN                                                               EIN

                                          See continuation page.



                                                                                                            If Debtor 2 lives at a different address:
  5.   Where you live
                                          2105 Dublin Court
                                          Number              Street                                        Number           Street




                                          Mckinney, TX 75071
                                          City                                     State       ZIP Code     City                                  State     ZIP Code

                                          Collin
                                          County                                                            County

                                          If your mailing address is different from the one above,          If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to     it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                      at this mailing address.


                                          Number              Street                                        Number           Street



                                          P.O. Box                                                          P.O. Box



                                          City                                     State       ZIP Code     City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                        Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                                 ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other              have lived in this district longer than in any other
                                                 district.                                                         district.

                                          ❑ I have another reason. Explain.                                 ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                            (See 28 U.S.C. § 1408)




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Olamide            Olatayo                 Bello                                          Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                     When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Olamide                Olatayo                 Bello                                          Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ❑ No. Go to Part 4.
      any full- or part-time
      business?
                                           ✔ Yes. Name and location of business
                                           ❑
      A sole proprietorship is a               Ajide Technology
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a                   2105 Dublin Court
                                               Number         Street
      corporation, partnership, or LLC.

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this              Mckinney                                             TX              75071
                                               City                                                State            ZIP Code
      petition.

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ✔ None of the above
                                               ❑

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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 Debtor 1           Olamide             Olatayo                 Bello                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                  What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                   If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                   Where is the property?
                                                                              Number        Street




                                                                              City                                          State      ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 5
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 Debtor 1           Olamide             Olatayo                    Bello                                               Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                     ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling            ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an       ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                               realizing or making rational decisions                                realizing or making rational decisions
                                                               about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
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 Debtor 1           Olamide               Olatayo                  Bello                                            Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ✔ No. Go to line 16b.
                                                    ❑
                                                    ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ❑ 1-49            ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ✔ 50-99
                                              ❑                 ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Olamide Olatayo Bello
                                       Olamide Olatayo Bello, Debtor 1
                                       Executed on 05/17/2023
                                                        MM/ DD/ YYYY




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 Debtor 1           Olamide                 Olatayo                 Bello                                          Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Marcus Leinart                                                   Date 05/17/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Marcus Leinart
                                                  Printed name

                                                  Leinart Law Firm
                                                  Firm name

                                                  10670 N Central Expy Ste 320
                                                  Number      Street



                                                  Dallas                                                           TX      75231-2173
                                                  City                                                             State   ZIP Code



                                                  Contact phone (469) 232-3328                       Email address marcus@leinartlaw.com


                                                  00794156                                                         TX
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Debtor 1            Olamide             Olatayo                     Bello                                           Case number (if known)
                     First Name          Middle Name                 Last Name


 Additional Items: Continuation Page

                                                                                              Dobit
  2.   All other names you have used in the last 8 years (cont.)                              Business name

       Include your married or maiden names and any assumed, trade names and                  Smoothmulti-Service Platform
       doing business as names.                                                               Business name
                                                                                              HowyouDey
       Do NOT list the name of any separate legal entity such as a corporation,               Business name
       partnership, or LLC that is not filing this petition.

                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
       Number (EIN), if any. (cont)         8    5    -     0    9    3      9   7   8    8
                                           EIN

                                            8    3    -     4    3    9      8   7   7    7
                                           EIN

                                            8    7    -     2    0    4      1   6   5    0
                                           EIN




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                         page 9
12. Are you a sole proprietor of
   any full-Case    23-30980-mvl7
            or part-time       ObelloDoc     1 Filed 05/17/23 Entered 05/17/23 17:00:03
                                      Solutions                                                             Desc Main
   business? (cont.)          Name of business, if Document
                                                   any      Page 10 of 99
                                   2105 Dublin Court
                                   Number         Street




                                   Mckinney                                         TX           75071
                                   City                                            State         ZIP Code

                                   Check the appropriate box to describe your business:

                                   ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                   ✔ None of the above
                                   ❑
                                   Dobit
                                   Name of business, if any

                                   2105 Dublin Court
                                   Number         Street




                                   Mckinney                                         TX           75071
                                   City                                            State         ZIP Code

                                   Check the appropriate box to describe your business:

                                   ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                   ✔ None of the above
                                   ❑
                                   Smoothmulti-Service Platform
                                   Name of business, if any

                                   435 Spring Air Dr
                                   Number         Street




                                   Allen                                            TX           75002
                                   City                                            State         ZIP Code

                                   Check the appropriate box to describe your business:

                                   ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                   ✔ None of the above
                                   ❑
                                   HowyouDey
                                   Name of business, if any

                                   2105 Dublin Court
                                   Number         Street




                                   Mckinney                                         TX           75071
                                   City                                            State         ZIP Code

                                   Check the appropriate box to describe your business:

                                   ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                   ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
            Case 23-30980-mvl7                             Doc 1           Filed 05/17/23 Entered 05/17/23 17:00:03                                                    Desc Main
                                                                          Document Page 11 of 99
 Fill in this information to identify your case and this filing:

  Debtor 1                 Olamide                      Olatayo                      Bello
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Northern                   District of            Texas

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      2105 Dublin Court                                ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                Mckinney, TX 75071                                ❑ Investment property                                                              $600,000.00                $600,000.00

                City        State                ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Collin                                                                                                                 a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔ Debtor 1 only
                                                                  ❑                                                                     Fee Simple
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                                                                                            (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                $600,000.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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       3.1     Make:                    Mercedes-Benz            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               G550
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                            2020 Mercedes-Benz                   ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:        G550                                 ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            6500              ❑ Check if this is community property (see                                         $157,206.00                 $157,206.00
                                                                      instructions)
               Other information:




       If you own or have more than one, describe here:

       3.2     Make:                    Mercedes-Benz            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                     AMG GT63 Coupe
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2021              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            3300
                                                                 ❑ Check if this is community property (see                                           $72,228.06                 $72,228.06
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                               $229,434.06
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                          $1,320.00




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 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                3 Tv's                                                                                                     $300.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                Clothes, Shoes, and Accessories                                                                            $500.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
           information. .............




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 3
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                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                              $2,120.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Navy FCU Bank                                                                                                      $32.46

                                             17.2. Checking account:                           Navy FCU Business Account                                                                                            $6.22

                                             17.3. Checking account:                           Navy FCU Business Account                                                                                            $1.88


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              Ajide Technology                                                                                                                     100.00%                          $0.00


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
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 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                                 page 5
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 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                                                                                                                    State:
                 the tax years. ...................
                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                    Alimony:

                                                                                                                    Maintenance:

                                                                                                                    Support:

                                                                                                                    Divorce settlement:

                                                                                                                    Property settlement:



Official Form 106A/B                                                     Schedule A/B: Property                                                            page 6
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 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                    $40.56
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
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                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




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                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                    $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                   $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔         $600,000.00


 56.   Part 2: Total vehicles, line 5                                                                              $229,434.06

 57.   Part 3: Total personal and household items, line 15                                                             $2,120.00

 58.   Part 4: Total financial assets, line 36                                                                              $40.56

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                            $231,594.62            Copy personal property total             ➔    +    $231,594.62



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                $831,594.62




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                 Continuation Page

 6.               Household goods and furnishings

                  1 Couch                                                                                             $300.00

                  1 Dining Table                                                                                       $50.00

                  1 Refrigerator                                                                                      $200.00

                  1 Washer/ Dryer Set                                                                                 $150.00

                  20 Pots/Pans and Dishes                                                                              $20.00

                  3 Beds                                                                                              $300.00

                  3 Dressers                                                                                          $300.00




Official Form 106A/B                                    Schedule A/B: Property                                        page 11
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 Fill in this information to identify your case:

  Debtor 1                    Olamide              Olatayo            Bello
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                  04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from     Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑           $298,818.00                  Const. art. 16 §§ 50, 51, Texas Prop.
 2105 Dublin Court Mckinney, TX 75071                                 $600,000.00
                                                                                     ❑ 100% of fair market value, up          Code §§ 41.001-.002
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          1.1

 Brief description:
                                                                                     ✔
                                                                                     ❑               $0.00                    Tex. Prop. Code §§ 42.001(a),
 2020 Mercedes-Benz G550 Mercedes-Benz G550                           $157,206.00
                                                                                     ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
        ❑✔ No
        ❑ Yes




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                 page 1 of 3
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                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from       Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                                ✔
                                                                                ❑               $0.00                    Tex. Prop. Code §§ 42.001(a),
 2021 Mercedes-Benz AMG GT63 Coupe                               $72,228.06
                                                                                ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        3.2

 Brief description:
                                                                                ✔
                                                                                ❑              $300.00                   Tex. Prop. Code §§ 42.001(a),
 1 Couch                                                              $300.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $50.00                    Tex. Prop. Code §§ 42.001(a),
 1 Dining Table                                                        $50.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $20.00                    Tex. Prop. Code §§ 42.001(a),
 20 Pots/Pans and Dishes                                               $20.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $200.00                   Tex. Prop. Code §§ 42.001(a),
 1 Refrigerator                                                       $200.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $150.00                   Tex. Prop. Code §§ 42.001(a),
 1 Washer/ Dryer Set                                                  $150.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $300.00                   Tex. Prop. Code §§ 42.001(a),
 3 Beds                                                               $300.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $300.00                   Tex. Prop. Code §§ 42.001(a),
 3 Dressers                                                           $300.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                ✔
                                                                                ❑              $300.00                   Tex. Prop. Code §§ 42.001(a),
 3 Tv's                                                               $300.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 3
               Case 23-30980-mvl7                 Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03                              Desc Main
                                                           Document Page 24 of 99
 Debtor 1             Olamide           Olatayo               Bello                                          Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from       Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                                ✔
                                                                                ❑              $500.00                   Tex. Prop. Code §§ 42.001(a),
 Clothes, Shoes, and Accessories                                      $500.00
                                                                                ❑ 100% of fair market value, up          42.002(a)(5)
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         11




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 3 of 3
                  Case 23-30980-mvl7                        Doc 1        Filed 05/17/23 Entered 05/17/23 17:00:03                                Desc Main
                                                                        Document Page 25 of 99
 Fill in this information to identify your case:

  Debtor 1                       Olamide                 Olatayo             Bello
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Northern District of Texas

  Case number                                                                                                                                ❑ Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                       Column A            Column B           Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                     Amount of claim     Value of           Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                Do not deduct the   collateral that    portion
    creditor’s name.                                                                                                value of            supports this      If any
                                                                                                                    collateral.         claim

 2.1 Carrington Mortgage Services                           Describe the property that secures the claim:               $301,182.00          $600,000.00                 $0.00
      Creditor's Name
                                                              2105 Dublin Court Mckinney, TX 75071
      1600 South Douglass Road, Stes 110 &
      200
      Number            Street                              As of the date you file, the claim is: Check all that
      Anaheim, CA 92806                                     apply.
      City                        State       ZIP Code      ❑ Contingent
      Who owes the debt? Check one.
      ✔ Debtor 1 only                                       ❑ Unliquidated
      ❑
                                                            ❑ Disputed
      ❑ Debtor 2 only
                                                            Nature of lien. Check all that apply.
      ❑ Debtor 1 and Debtor 2 only                          ❑ An agreement you made (such as mortgage
      ❑ At least one of the debtors and                        or secured car loan)
          another
                                                            ❑ Statutory lien (such as tax lien, mechanic's
      ❑ Check if this claim relates to a                       lien)
          community debt
                                                            ❑ Judgment lien from a lawsuit
      Date debt was incurred                                ❑ Other (including a right to offset)
                                                            Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $301,182.00




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 3
              Case 23-30980-mvl7                     Doc 1        Filed 05/17/23 Entered 05/17/23 17:00:03                                Desc Main
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 Debtor 1              Olamide             Olatayo                  Bello                                          Case number (if known)
                       First Name          Middle Name              Last Name


                                                                                                             Column A            Column B           Column C
              Additional Page
                                                                                                             Amount of claim     Value of           Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                             Do not deduct the   collateral that    portion
              2.3, followed by 2.4, and so forth.                                                            value of            supports this      If any
                                                                                                             collateral.         claim


 2.2 Mercedes Benz Credit                            Describe the property that secures the claim:               $157,206.00          $157,206.00               $0.00
     Creditor's Name
                                                      2020 Mercedes-Benz G550 Mercedes-Benz
     PO Box 685                                       G550
     Number          Street
     Westlake, TX 76262                              As of the date you file, the claim is: Check all that
     City                     State   ZIP Code       apply.
     Who owes the debt? Check one.                   ❑ Contingent
     ✔ Debtor 1 only
     ❑                                               ❑ Unliquidated
     ❑ Debtor 2 only                                 ❑ Disputed
     ❑ Debtor 1 and Debtor 2 only                    Nature of lien. Check all that apply.
     ❑ At least one of the debtors and               ❑ An agreement you made (such as mortgage
        another                                          or secured car loan)
     ❑ Check if this claim relates to a              ❑ Statutory lien (such as tax lien, mechanic's
        community debt                                   lien)
     Date debt was incurred                          ❑ Judgment lien from a lawsuit
                                                     ❑ Other (including a right to offset)
                                                     Last 4 digits of account number

 2.3 Mercedes Benz Credit                            Describe the property that secures the claim:                $72,228.06           $72,228.06               $0.00
     Creditor's Name
                                                      2021 Mercedes-Benz AMG GT63 Coupe
     PO Box 685
     Number          Street
     Westlake, TX 76262                              As of the date you file, the claim is: Check all that
     City                     State   ZIP Code       apply.
     Who owes the debt? Check one.                   ❑ Contingent
     ✔ Debtor 1 only
     ❑                                               ❑ Unliquidated
     ❑ Debtor 2 only                                 ❑ Disputed
     ❑ Debtor 1 and Debtor 2 only                    Nature of lien. Check all that apply.
     ❑ At least one of the debtors and               ❑ An agreement you made (such as mortgage
        another                                          or secured car loan)
     ❑ Check if this claim relates to a              ❑ Statutory lien (such as tax lien, mechanic's
        community debt                                   lien)
     Date debt was incurred                          ❑ Judgment lien from a lawsuit
                                                     ❑ Other (including a right to offset)
                                                     Last 4 digits of account number
     Add the dollar value of your entries in Column A on this page. Write that number here:                            $229,434.06
     If this is the last page of your form, add the dollar value totals from all pages. Write that number              $530,616.06
     here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
                Case 23-30980-mvl7                 Doc 1      Filed 05/17/23 Entered 05/17/23 17:00:03                               Desc Main
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 Debtor 1            Olamide             Olatayo                 Bello                                         Case number (if known)
                     First Name          Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

   1                                                                                    On which line in Part 1 did you enter the creditor?     2
       MB Financial Services
       Name
                                                                                        Last 4 digits of account number
       2050 Roanoke Rd
       Number        Street
       <br/>

       Roanoke, TX 76262
       City                                              State           ZIP Code

   2                                                                                    On which line in Part 1 did you enter the creditor?     3
       MB Financial Services
       Name
                                                                                        Last 4 digits of account number
       2050 Roanoke Rd
       Number        Street
       <br/>

       Roanoke, TX 76262
       City                                              State           ZIP Code




Official Form 106D                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3
                  Case 23-30980-mvl7                  Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03                                 Desc Main
 Fill in this information to identify your case:                 Document Page 28 of 99
  Debtor 1                  Olamide                Olatayo           Bello
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
        Number          Street                                     As of the date you file, the claim is: Check all that
                                                                   apply.
                                                                   ❑ Contingent
        City                             State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                   ❑ Disputed
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                            ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                               ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                     government
        ❑ Check if this claim is for a community debt              ❑ Claims for death or person injury while you
                                                                      were intoxicated
        Is the claim subject to offset?                            ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 32
                Case 23-30980-mvl7                  Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1            Olamide              Olatayo              Document
                                                                 Bello      Page 29 of 99    Case number (if known)
                     First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     A New Direction Credit Union                                                                                                                       $5,600.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?         03/01/2022
        12770 Coit Rd
                                                                            As of the date you file, the claim is: Check all that apply.
        100                                                                 ❑ Contingent
       Number          Street
        Dallas, TX 75251
                                                                            ❑ Unliquidated
       City                           State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                              divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                 similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?                                           Personal Loan
       ✔ No
       ❑
       ❑ Yes
4.2     Aes/pheaa                                                           Last 4 digits of account number 0002                                                 $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?         12/01/2005
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 2461                                                         ❑ Contingent
                                                                            ❑ Unliquidated
       Number          Street
        Harrisburg, PA 17105-2461
       City                           State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                              divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                 similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?                                           UnknownLoanType
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 2 of 32
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 Debtor 1            Olamide             Olatayo           Document
                                                             Bello      Page 30 of 99    Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.3     AES/PHEAA                                                       Last 4 digits of account number 0003                                         $0.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        12/01/2005
        Attn: Bankruptcy
                                                                        As of the date you file, the claim is: Check all that apply.
        PO Box 2461
       Number          Street
                                                                        ❑ Contingent
        Harrisburg, PA 17105
                                                                        ❑ Unliquidated
       City                          State   ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      UnknownLoanType
       ✔ No
       ❑
       ❑ Yes
4.4     Amex                                                            Last 4 digits of account number 9333                                 $16,423.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        04/01/2022
        Correspondence/Bankruptcy
                                                                        As of the date you file, the claim is: Check all that apply.
        PO Box 981540
       Number          Street
                                                                        ❑ Contingent
        El Paso, TX 79998
                                                                        ❑ Unliquidated
       City                          State   ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      CreditCard
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 32
                Case 23-30980-mvl7                 Doc 1    Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1            Olamide             Olatayo           Document
                                                             Bello      Page 31 of 99    Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.5     Bluevine                                                        Last 4 digits of account number 0919                                 $54,650.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        2020
        401 Warren St.
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        Redwood City, CA 94063
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Personal Loan
       ❑ Yes
4.6     Brian Payne                                                                                                                          $19,402.00
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        10/01/2022
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
                                                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Personal Loan
       ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4 of 32
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 Debtor 1            Olamide             Olatayo           Document
                                                             Bello      Page 32 of 99    Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.7     Capital One                                                     Last 4 digits of account number 0778                                  $2,145.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        05/01/2022
        Attn: Bankruptcy
                                                                        As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number          Street
                                                                        ❑ Contingent
        Salt Lake City, UT 84130
                                                                        ❑ Unliquidated
       City                          State   ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      CreditCard
       ✔ No
       ❑
       ❑ Yes
4.8     Capital One                                                     Last 4 digits of account number 4492                                         $0.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        12/01/2014
        Attn: Bankruptcy
                                                                        As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number          Street
                                                                        ❑ Contingent
        Salt Lake City, UT 84130
                                                                        ❑ Unliquidated
       City                          State   ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      CreditCard
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5 of 32
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 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 33 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.9     Ccholdings                                                         Last 4 digits of account number 3041                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/01/2015
        Po Box 9201
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Old Bethpage, NY 11804
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes
4.10    CommunityAmerica Credit Union                                      Last 4 digits of account number 0140                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2015
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        9777 Ridge Drive
       Number          Street
                                                                           ❑ Contingent
        Lenexa, KS 66219
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         CheckCreditOrLineOfCredit
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.11    Continental Finance Co                                             Last 4 digits of account number 9817                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/11/2015
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        4550 Linden Hill Rd, Ste 4
       Number          Street
                                                                           ❑ Contingent
        Wilmington, DE 19808
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         CreditCard
       ✔ No
       ❑
       ❑ Yes
4.12    Dept of Ed/Nelnet                                                  Last 4 digits of account number 2824                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        03/01/2013
        Attn: Bankruptcy Claims/Nelnet
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 82505
       Number          Street
                                                                           ❑ Contingent
        Lincoln, NE 68501
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.13    Dept of Ed/Nelnet                                                  Last 4 digits of account number 6424                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2008
        Attn: Bankruptcy Claims/Nelnet
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 82505
       Number          Street
                                                                           ❑ Contingent
        Lincoln, NE 68501
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         UnknownLoanType
       ✔ No
       ❑
       ❑ Yes
4.14    Discover                                                                                                                                  $2,563.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        2020
        P.O. Box 60136
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        City of Industry, CA 91716                                         ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes




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4.15    Factoring XP                                                                                                                              $3,500.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        16850 Collins Ave 112414
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        North Miami Beach, FL 33160                                        ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes
4.16    First Premier Bank                                                 Last 4 digits of account number 9968                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        05/01/2016
        3820 N Louise Ave
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux Falls, SD 57107
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.17    First Premier Bank                                                 Last 4 digits of account number 6567                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/01/2014
        3820 N Louise Ave
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux Falls, SD 57107
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes
4.18    Fleet One                                                          Last 4 digits of account number 3487                                 $10,020.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        5042 Linbar Dr
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Nashville, TN 37211                                                ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.19    Foley                                                                                                                                     $2,500.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/01/2021
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                           similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes
4.20    Gabriela Sanchez                                                                                                                          $2,029.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2022
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                           similar debts
       Is the claim subject to offset?                                     ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.21    Genesis FS Card Services                                           Last 4 digits of account number 9532                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/26/2018
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 4477
       Number          Street
                                                                           ❑ Contingent
        Beaverton, OR 97076
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         CreditCard
       ✔ No
       ❑
       ❑ Yes
4.22    Greensky Llc                                                       Last 4 digits of account number 1017                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2019
        Attn: Bankruptcy Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        1797 Northeast Expy NE , Ste 100
       Number          Street
                                                                           ❑ Contingent
        Atlanta, GA 30329-2451
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes




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4.23    Loanpal, LLc                                                       Last 4 digits of account number 0759                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/01/2020
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        8781 Sierra College Blvd.
       Number          Street
                                                                           ❑ Contingent
        Roseville, CA 95661
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 1 only                                                     ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ✔ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
       ❑                                                                       similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes
4.24    Mb Fin Svcs                                                                                                                             $11,059.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        2050 Roanoke Rd
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Westlake, TX 76262                                                 ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Auto Lease
       ❑ Yes




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4.25    Navient                                                            Last 4 digits of account number 1129                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.26    Navient                                                            Last 4 digits of account number 0911                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2003
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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4.27    Navient                                                            Last 4 digits of account number 0914                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2004
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.28    Navient                                                            Last 4 digits of account number 0904                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2002
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Olamide              Olatayo            Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.29    Navient                                                            Last 4 digits of account number 0904                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2002
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.30    Navient                                                            Last 4 digits of account number 0627                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        06/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Olamide              Olatayo            Document
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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.31    Navient                                                            Last 4 digits of account number 0705                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.32    Navient                                                            Last 4 digits of account number 0515                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        05/01/2008
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Olamide              Olatayo            Document
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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.33    Navient                                                            Last 4 digits of account number 0627                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        06/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.34    Navient                                                            Last 4 digits of account number 0515                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        05/01/2008
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Olamide              Olatayo            Document
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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.35    Navient                                                            Last 4 digits of account number 1129                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.36    Navient                                                            Last 4 digits of account number 0229                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        02/01/2008
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9640
       Number          Street
                                                                           ❑ Contingent
        Wilkes-Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.37    Navy FCU                                                           Last 4 digits of account number 5845                                   $2,982.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        04/01/2021
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 3000
       Number          Street
                                                                           ❑ Contingent
        Merrifield, VA 22119
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         CreditCard
       ✔ No
       ❑
       ❑ Yes
4.38    Navy Federal Credit Union                                                                                                               $27,737.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/01/2022
        P O Box 3000
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Merrifield, VA 22119-3000                                          ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.39    NDD                                                                                                                                    $135,000.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        08/01/2022
        14500 Dallas Parkway
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Dallas, TX 75254                                                   ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes
4.40    OneMain Financial                                                  Last 4 digits of account number 8863                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        04/27/2015
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 3251
       Number          Street
                                                                           ❑ Contingent
        Evansville, IN 47731
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.41    Presby Cu                                                          Last 4 digits of account number 0003                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        01/01/2022
        10670 N Central
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Dallas, TX 75231
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       UnknownLoanType
       ❑ Yes
4.42    Presby Cu                                                          Last 4 digits of account number 0002                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2021
        10670 N Central
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Dallas, TX 75231
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Unsecured
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.43    Presby Cu                                                          Last 4 digits of account number 0LOC                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2019
        10670 N Central
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Dallas, TX 75231
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CheckCreditOrLineOfCredit
       ❑ Yes
4.44    Presby Cu                                                          Last 4 digits of account number 0001                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2020
        10670 N Central
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Dallas, TX 75231
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Unsecured
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.45    Quick Bridge Funding, LLC                                          Last 4 digits of account number 4422                                 $62,548.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                           similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑
       ❑ Yes
4.46    Resource One Credit Union                                          Last 4 digits of account number 7143                                   $5,657.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/01/2022
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 660077
       Number          Street
                                                                           ❑ Contingent
        Dallas, TX 75266
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Olamide              Olatayo            Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.47    Resource One Credit Union                                          Last 4 digits of account number 7143                                   $3,746.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        01/01/2022
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 660077
       Number          Street
                                                                           ❑ Contingent
        Dallas, TX 75266
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes
4.48    RISE Credit                                                        Last 4 digits of account number 3961                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        06/12/2015
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 101808
       Number          Street
                                                                           ❑ Contingent
        Fort Worth, TX 76185
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Unsecured
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 25 of 32
              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 53 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.49    Sallie Mae, Inc                                                    Last 4 digits of account number 0220                                $106,092.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        02/01/2013
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9500
       Number          Street
                                                                           ❑ Contingent
        Wilkes Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.50    Sallie Mae, Inc                                                    Last 4 digits of account number 1115                                 $18,531.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2013
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9500
       Number          Street
                                                                           ❑ Contingent
        Wilkes Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 26 of 32
              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 54 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.51    Sallie Mae, Inc                                                    Last 4 digits of account number 0325                                 $10,489.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        03/01/2013
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 9500
       Number          Street
                                                                           ❑ Contingent
        Wilkes Barre, PA 18773
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ✔ Student loans
                                                                           ❑
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?                                         Educational
       ✔ No
       ❑
       ❑ Yes
4.52    Small Business Admin                                               Last 4 digits of account number 7452                              $1,279,500.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        14925 Kingsport Rd.
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Fort Worth, TX 76155                                               ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 27 of 32
              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 55 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.53    Small Business Administration                                      Last 4 digits of account number 7801                                 $90,000.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1545 Hawkins Blvd Suite 202
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        El Paso, TX 79925-2652                                             ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Personal Loan
       ❑ Yes
4.54    Syncb                                                              Last 4 digits of account number 3809                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2020
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number          Street
                                                                           ❑ Contingent
        Orlando, FL 32896-5060
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes




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              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 56 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.55    Synchrony Bank/Amazon                                              Last 4 digits of account number 6006                                   $1,850.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        01/01/2022
        Attn: Bankruptcy Dept.
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 965064
       Number          Street
                                                                           ❑ Contingent
        Orlando, FL 32896
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes
4.56    Synchrony Bank/TJX                                                 Last 4 digits of account number 5345                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/01/2015
        FL 32896
        Attn: Bankruptcy                                                   As of the date you file, the claim is: Check all that apply.
        Orlando,                                                           ❑ Contingent
        PO Box 956060                                                      ❑ Unliquidated
       Number          Street
                                                                           ❑ Disputed
                                                                           Type of NONPRIORITY unsecured claim:
       City                          State    ZIP Code
       Who incurred the debt? Check one.
                                                                           ❑ Student loans
       ✔ Debtor 1 only
       ❑                                                                   ❑ Obligations arising out of a separation agreement or
                                                                               divorce that you did not report as priority claims
       ❑ Debtor 2 only                                                     ❑ Debts to pension or profit-sharing plans, and other
       ❑ Debtor 1 and Debtor 2 only                                            similar debts
       ❑ At least one of the debtors and another                           ✔ Other. Specify
                                                                           ❑
       ❑ Check if this claim is for a community debt
                                                                               ChargeAccount

       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes




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              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 57 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.57    Target Nb                                                          Last 4 digits of account number 1496                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        08/01/2020

        Mailstop BT                                                        As of the date you file, the claim is: Check all that apply.

        PO Box 9475
                                                                           ❑ Contingent
       Number          Street                                              ❑ Unliquidated
        Minneapolis, MN 55440                                              ❑ Disputed
       City                          State    ZIP Code
                                                                           Type of NONPRIORITY unsecured claim:
                                                                           ❑ Student loans
       Who incurred the debt? Check one.
       ✔ Debtor 1 only
       ❑
                                                                           ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 2 only                                                         divorce that you did not report as priority claims
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
                                                                           ✔ Other. Specify
                                                                           ❑
       ❑ Check if this claim is for a community debt                           CreditCard
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
4.58    Wells Fargo/Dillards                                               Last 4 digits of account number 4615                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        02/24/2011
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 10438 MAC F8235-02F
       Number          Street
                                                                           ❑ Contingent
        Des Moines, IA 50306
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 30 of 32
              Case 23-30980-mvl7                   Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1           Olamide              Olatayo            Document
                                                              Bello      Page 58 of 99    Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.59    Wells Fargo/Dillards                                               Last 4 digits of account number 1280                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        02/01/2011
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 10438 MAC F8235-02F
       Number          Street
                                                                           ❑ Contingent
        Des Moines, IA 50306
                                                                           ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 31 of 32
                Case 23-30980-mvl7                  Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
 Debtor 1          Olamide                Olatayo            Document
                                                               Bello      Page 59 of 99    Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                             $0.00
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                              $0.00




                                                                                         Total claim


                   6f. Student loans                                          6f.                       $135,112.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                  $1,738,911.00
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                      $1,874,023.00




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 32 of 32
                     Case 23-30980-mvl7                     Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03                                 Desc Main
                                                                       Document Page 60 of 99
 Fill in this information to identify your case:

     Debtor 1                       Olamide              Olatayo           Bello
                                    First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Northern District of Texas

     Case number                                                                                                                              ❑ Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                   State what the contract or lease is for

2.1                                                                                                  Unknown
        MB Financial Services                                                                        Contract to be REJECTED
        Name


        2050 Roanoke Rd
        Number    Street
        Roanoke, TX 76262
        City                                     State   ZIP Code

2.2                                                                                                  Unknown
        MB Financial Services
        Name


        2050 Roanoke Rd
        Number    Street
        Roanoke, TX 76262
        City                                     State   ZIP Code

2.3                                                                                                  Unknown
        MBFS
        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code


Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
                  Case 23-30980-mvl7                          Doc 1    Filed 05/17/23 Entered 05/17/23 17:00:03                           Desc Main
                                                                      Document Page 61 of 99
 Fill in this information to identify your case:

  Debtor 1                       Olamide                Olatayo           Bello
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                             Northern District of Texas

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt
                                                                                                            Check all schedules that apply:
3.1                                                                                                         ❑ Schedule D, line
      Name
                                                                                                            ❑ Schedule E/F, line
      Number            Street                                                                              ❑ Schedule G, line
      City                                    State   ZIP Code




Official Form 106H                                                            Schedule H: Your Codebtors                                                     Page 1 of 1
                  Case 23-30980-mvl7                  Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03                                          Desc Main
                                                                 Document Page 62 of 99
 Fill in this information to identify your case:

  Debtor 1                  Olamide                Olatayo           Bello
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Texas                                     ❑ An amended filing
                                                                                                                                ❑ A supplement showing postpetition
  Case number                                                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                   MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                      ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                   Software Developer
     employers.
                                             Employer's name              eTeam
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           285 Davidson Avenue 406
     Occupation may include student                                          Number Street                                        Number Street
     or homemaker, if it applies.




                                                                          Somerset, NJ 08873
                                                                             City                     State      Zip Code         City                  State   Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $25,917.54                     $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +                $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $25,917.54                     $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                 page 1
                  Case 23-30980-mvl7                                Doc 1           Filed 05/17/23 Entered 05/17/23 17:00:03                              Desc Main
                                                                                   Document Page 63 of 99
 Debtor 1                 Olamide                      Olatayo                         Bello                                         Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $25,917.54                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.           $4,821.14                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.           $1,492.08                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h. +             $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.            $6,313.21                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $19,604.33                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $19,604.33    +               $0.00         =         $19,604.33

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $19,604.33

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
               Case 23-30980-mvl7              Doc 1    Filed 05/17/23 Entered 05/17/23 17:00:03                Desc Main
                                                       Document Page 64 of 99
 Debtor 1            Olamide         Olatayo             Bello                             Case number (if known)
                     First Name       Middle Name        Last Name




   1. Employment information for Debtor 1
       Occupation

       Employer's name              Elsevier

       Employer's address
                                     Number Street




                                     City                            State    Zip Code

       How long employed there?




Official Form 106I                                               Schedule I: Your Income                                    page 3
                  Case 23-30980-mvl7                   Doc 1         Filed 05/17/23 Entered 05/17/23 17:00:03                               Desc Main
                                                                    Document Page 65 of 99
 Fill in this information to identify your case:

  Debtor 1                  Olamide                 Olatayo              Bello
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                          Northern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               3                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               1                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                  $2,509.56


     If not included in line 4:
                                                                                                                                4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                4c.                   $100.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                  Case 23-30980-mvl7                  Doc 1     Filed 05/17/23 Entered 05/17/23 17:00:03                          Desc Main
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 Debtor 1             Olamide               Olatayo               Bello                                      Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $380.00

       6b. Water, sewer, garbage collection                                                                        6b.                   $220.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $0.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $600.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $100.00

 10. Personal care products and services                                                                           10.                   $100.00

 11.   Medical and dental expenses                                                                                 11.                   $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $600.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $100.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                      $0.00

       15c. Vehicle insurance                                                                                      15c.                $2,200.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                $3,186.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                $1,822.76
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                      $0.00
       17c. Other. Specify:
                                                                                                                   17d.                      $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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                                                             Document Page 67 of 99
 Debtor 1            Olamide             Olatayo               Bello                                        Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                   See Additional Page                                                        21.     +           $7,570.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $19,588.32

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $19,588.32


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $19,604.33

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $19,588.32

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $16.01
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Debtor 1             Olamide          Olatayo             Bello                               Case number (if known)
                      First Name        Middle Name        Last Name




                                                                                                                                Amount


   21. Other
       Pay Roll Outsourcing (contract 1099 labor)                                                                               $6,370.00
       Fiber Rental                                                                                                             $1,200.00




Official Form 106J                                                 Schedule J: Your Expenses                                         page 4
                  Case 23-30980-mvl7                            Doc 1           Filed 05/17/23 Entered 05/17/23 17:00:03                                                    Desc Main
                                                                               Document Page 69 of 99
 Fill in this information to identify your case:

  Debtor 1                      Olamide                     Olatayo                  Bello
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Northern District of Texas

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $600,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $231,594.62

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $831,594.62



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $530,616.06

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                           $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +         $1,874,023.00


                                                                                                                                                  Your total liabilities                 $2,404,639.06

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $19,604.33


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $19,588.32




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Olamide               Olatayo                 Bello                                            Case number (if known)
                    First Name            Middle Name             Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Olamide                Olatayo           Bello
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Olamide Olatayo Bello
        Olamide Olatayo Bello, Debtor 1


        Date 05/17/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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                                                                    Document Page 72 of 99
 Fill in this information to identify your case:

  Debtor 1                  Olamide                Olatayo            Bello
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                         Northern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                        there


                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                             From                                                                         From
    Number       Street                                                                 Number    Street
                                                             To                                                                           To



    City                            State ZIP Code                                      City                        State ZIP Code



                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                             From                                                                         From
    Number       Street                                                                 Number    Street
                                                             To                                                                           To



    City                            State ZIP Code                                      City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
               Case 23-30980-mvl7                 Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03                                Desc Main
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Debtor 1            Olamide           Olatayo                 Bello                                          Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the                                          $10,800.00
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                    $111,626.00           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                     $43,383.00           bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2022       )
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2021       )
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1             Olamide                      Olatayo                Bello                                          Case number (if known)
                     First Name                   Middle Name            Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                    Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                    payment

                                                                                                                                           ❑ Mortgage
             Creditor's Name                                                                                                               ❑ Car
                                                                                                                                           ❑ Credit card
             Number       Street                                                                                                           ❑ Loan repayment
                                                                                                                                           ❑ Suppliers or vendors
                                                                                                                                           ❑ Other
             City                         State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ❑ No
    ✔ Yes. List all payments to an insider.
    ❑
                                                                 Dates of            Total amount paid   Amount you still          Reason for this payment
                                                                 payment                                 owe

                                                                                                                                   Loan
    Ndidi                                                                               $22,600.00                   $0.00
    Insider's Name


    Number     Street


    City                          State      ZIP Code




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Olamide                 Olatayo                  Bello                                            Case number (if known)
                     First Name              Middle Name              Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                              Dates of            Total amount paid     Amount you still           Reason for this payment
                                                              payment                                   owe                        Include creditor’s name



    Insider's Name


    Number     Street




    City                          State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                         Nature of the case                       Court or agency                                  Status of the case


                                                                                                                                                 ✔ Pending
                                                         Collection
    Case title  Citacion v Bello                                                                 Orange County Superior Court                    ❑
    Case number
                                                                                                                                                 ❑ On appeal
                                                                                                 Court Name


                                                                                                 Number       Street                             ❑ Concluded

                                                                                                 City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                         Describe the property                                 Date                 Value of the property



    Creditor’s Name


    Number     Street                                                    Explain what happened

                                                                      ❑ Property was repossessed.
                                                                      ❑ Property was foreclosed.
                                                                      ❑ Property was garnished.
    City                            State     ZIP Code
                                                                      ❑ Property was attached, seized, or levied.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 4
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Debtor 1            Olamide                 Olatayo                 Bello                                          Case number (if known)
                    First Name              Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                      Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number     Street



    City                          State     ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600             Describe the gifts                                         Dates you gave       Value
     per person                                                                                                        the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.




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Debtor 1             Olamide             Olatayo                Bello                                          Case number (if known)
                     First Name          Middle Name            Last Name

     Gifts or contributions to charities       Describe what you contributed                                  Date you              Value
     that total more than $600                                                                                contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                          Date of your loss    Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred              Date payment or       Amount of payment
    Leinart Law Firm                                                                                          transfer was made
    Person Who Was Paid                        Attorney’s Fee
                                                                                                              2/10/2023                       $1,777.00
    10670 N Central Expy Ste 320
    Number     Street




    Dallas, TX 75231-2173
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
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Debtor 1            Olamide             Olatayo                Bello                                          Case number (if known)
                    First Name          Middle Name            Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred              Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of property           Describe any property or payments             Date transfer was
                                              transferred                                 received or debts paid in exchange            made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                         Date transfer was
                                                                                                                                        made


    Name of trust




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Debtor 1            Olamide              Olatayo                 Bello                                           Case number (if known)
                    First Name           Middle Name             Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Last 4 digits of account number          Type of account or    Date account was          Last balance
                                                                                            instrument            closed, sold, moved, or   before closing or
                                                                                                                  transferred               transfer

    Name of Financial Institution
                                                   XXXX–                                ❑ Checking
                                                                                        ❑ Savings
                                                                                        ❑ Money market
    Number      Street


                                                                                        ❑ Brokerage
                                                                                        ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Who else had access to it?                    Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑ No
    Name of Financial Institution                  Name
                                                                                                                                            ❑ Yes

    Number      Street                             Number    Street



                                                   City                  State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Who else has or had access to it?             Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑ No
    Name of Storage Facility                       Name
                                                                                                                                            ❑ Yes

    Number      Street                             Number    Street



                                                   City                  State   ZIP Code

    City                   State    ZIP Code



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Debtor 1            Olamide             Olatayo                 Bello                                                Case number (if known)
                    First Name          Middle Name             Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Where is the property?                            Describe the property                       Value


    Owner's Name
                                                  Number    Street


    Number     Street

                                                  City                      State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Governmental unit                            Environmental law, if you know it                Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number       Street


                                              City                  State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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                    First Name            Middle Name               Last Name

                                                    Governmental unit                       Environmental law, if you know it                     Date of notice


    Name of site                                  Governmental unit



    Number        Street                          Number       Street


                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Court or agency                         Nature of the case                                    Status of the case


    Case title
                                                  Court Name
                                                                                                                                                  ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Ajide Technology                                                                                         Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:    8    4 – 2   9     3    3   9   7   9
    2105 Dublin Court
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed


    Mckinney, TX 75071                                                                                        From                  To
    City                    State   ZIP Code




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Debtor 1            Olamide             Olatayo                    Bello                                       Case number (if known)
                    First Name          Middle Name                Last Name

                                                   Describe the nature of the business                 Employer Identification number
     Obello Solutions                                                                                  Do not include Social Security number or ITIN.
    Name
                                                                                                        EIN:    8   2 – 4    4     6    3   0   2   3
     2105 Dublin Court
    Number     Street

                                                   Name of accountant or bookkeeper                    Dates business existed


     Mckinney, TX 75071                                                                                 From                  To
    City                   State   ZIP Code

                                                   Describe the nature of the business                 Employer Identification number
     Dobit                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                        EIN:    8   5 – 0    9     3    9   7   8   8
     2105 Dublin Court
    Number     Street

                                                   Name of accountant or bookkeeper                    Dates business existed


     Mckinney, TX 75071                                                                                 From                  To
    City                   State   ZIP Code

                                                   Describe the nature of the business                 Employer Identification number
     Smoothmulti-Service Platform                                                                      Do not include Social Security number or ITIN.
    Name
                                                                                                        EIN:    8   3 – 4    3     9    8   7   7   7
     435 Spring Air Dr
    Number     Street

                                                   Name of accountant or bookkeeper                    Dates business existed


     Allen, TX 75002                                                                                    From                  To
    City                   State   ZIP Code

                                                   Describe the nature of the business                 Employer Identification number
     HowyouDey                                                                                         Do not include Social Security number or ITIN.
    Name
                                                                                                        EIN:    8   7 – 2    0     4    1   6   5   0
     2105 Dublin Court
    Number     Street

                                                   Name of accountant or bookkeeper                    Dates business existed


     Mckinney, TX 75071                                                                                 From                  To
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                   Date issued



    Name                                          MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




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 Debtor 1           Olamide             Olatayo               Bello                                         Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Olamide Olatayo Bello
        Signature of Olamide Olatayo Bello, Debtor 1


        Date 05/17/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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 Fill in this information to identify your case:

  Debtor 1                  Olamide                Olatayo           Bello
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                ❑ No
    name:               Carrington Mortgage Services
                                                                          ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        2105 Dublin Court Mckinney, TX 75071
                                                                          ❑ Retain the property and enter into a
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ✔ Retain the property and [explain]:
                                                                          ❑

    Creditor’s                                                            ❑ Surrender the property.                                ✔ No
                                                                                                                                   ❑
    name:               Mercedes Benz Credit
                                                                          ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2020 Mercedes-Benz G550
                        Mercedes-Benz G550                                ❑ Retain the property and enter into a
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ✔ Retain the property and [explain]:
                                                                          ❑




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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 Debtor 1            Olamide          Olatayo               Bello                                            Case number (if known)
                     First Name       Middle Name            Last Name




         Additional Page for Part 1

    Creditor’s                                                      ❑ Surrender the property.                                   ✔ No
                                                                                                                                ❑
    name:              Mercedes Benz Credit
                                                                    ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2021 Mercedes-Benz AMG GT63
                       Coupe                                        ❑ Retain the property and enter into a
    securing debt:                                                       Reaffirmation Agreement.
                                                                    ✔ Retain the property and [explain]:
                                                                    ❑




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                                 page
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 Debtor 1            Olamide                Olatayo               Bello                                        Case number (if known)
                     First Name             Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                           Will the lease be assumed?
    Lessor’s name:                MB Financial Services                                                                         ✔ No
                                                                                                                                ❑
                                                                                                                                ❑ Yes
    Description of leased
    property:                     Unknown

    Lessor’s name:                MB Financial Services                                                                         ✔ No
                                                                                                                                ❑
                                                                                                                                ❑ Yes
    Description of leased
    property:                     Unknown

    Lessor’s name:                MBFS                                                                                          ✔ No
                                                                                                                                ❑
                                                                                                                                ❑ Yes
    Description of leased
    property:                     Unknown

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                              ❑ No
                                                                                                                                ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Olamide Olatayo Bello
      Signature of Debtor 1


      Date 05/17/2023
            MM/ DD/ YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                      page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Bello, Olamide Olatayo

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,777.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,777.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        05/17/2023                                              /s/ Marcus Leinart
                Date                                         Marcus Leinart
                                                             Signature of Attorney
                                                                                            Bar Number: 00794156
                                                                                                   Leinart Law Firm
                                                                                     10670 N Central Expy Ste 320
                                                                                            Dallas, TX 75231-2173
                                                                                            Phone: (469) 232-3328

                                                                                Leinart Law Firm
                                                            Name of law firm




Date:         05/17/2023                                                   /s/ Olamide Olatayo Bello
                                                          Olamide Olatayo Bello




                                                                 Page 2 of 2
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 Fill in this information to identify your case:                    Document Page 89 of 99
  Debtor 1                     Olamide                Olatayo           Bello
                               First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                           Northern District of Texas


                                                                                                                  ❑ Check if this is an amended filing
  Case number
  (if known)



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
           ❑
                        this supplement with the signed Form 122A-1.
           ❑ Yes. Go to Part 2.

 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                      Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                         check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days          sign Part 3. Then submit this supplement with the signed
                                                                                                         Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                       , which is fewer
                                                                                                         Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                         exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                   are performing a homeland defense activity, and for 540
                                                                                                         days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this            If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                            page 1
                  Case 23-30980-mvl7                  Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
                                                                                             Check one box only as directed in this form and in
 Fill in this information to identify your case:                 Document Page 90 of 99      Form 122A-1Supp:
  Debtor 1                  Olamide                Olatayo             Bello
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Northern District of Texas                  ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from rental or other real property                                        here
                                                                                                  →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
                  Case 23-30980-mvl7                                   Doc 1            Filed 05/17/23 Entered 05/17/23 17:00:03 Desc Main
Debtor 1                   Olamide                        Olatayo                        Bello                       Case number (if known)
                           First Name                     Middle Name
                                                                                       Document
                                                                                         Last Name
                                                                                                    Page 91 of 99
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 1           Olamide               Olatayo                Bello                       Case number (if known)
                   First Name            Middle Name
                                                              Document
                                                                Last Name
                                                                           Page 92 of 99
Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Olamide Olatayo Bello
       Signature of Debtor 1

       Date 05/17/2023
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
       Case 23-30980-mvl7                Doc 1       Filed 05/17/23 Entered 05/17/23 17:00:03                               Desc Main
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                            DALLAS DIVISION

IN RE: Bello, Olamide Olatayo                                                         CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      05/17/2023            Signature                              /s/ Olamide Olatayo Bello
                                                                      Olamide Olatayo Bello, Debtor
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                                A New Direction Credit Union
                                12770 Coit Rd 100
                                Dallas, TX 75251




                                Aes/pheaa
                                Attn: Bankruptcy Dept
                                PO Box 2461
                                Harrisburg, PA 17105-2461



                                AES/PHEAA
                                Attn: Bankruptcy
                                PO Box 2461
                                Harrisburg, PA 17105



                                Amex
                                Correspondence/Bankruptcy
                                PO Box 981540
                                El Paso, TX 79998



                                Bluevine
                                401 Warren St.
                                Redwood City, CA 94063




                                Brian Payne




                                Capital One
                                Attn: Bankruptcy
                                PO Box 30285
                                Salt Lake City, UT 84130



                                Carrington Mortgage Services
                                1600 South Douglass Road, Stes 110 &
                                200
                                Anaheim, CA 92806
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                                Ccholdings
                                Po Box 9201
                                Old Bethpage, NY 11804




                                CommunityAmerica Credit
                                Union
                                Attn: Bankruptcy 9777 Ridge Drive
                                Lenexa, KS 66219



                                Continental Finance Co
                                Attn: Bankruptcy
                                4550 Linden Hill Rd, Ste 4
                                Wilmington, DE 19808



                                Dept of Ed/Nelnet
                                Attn: Bankruptcy Claims/Nelnet
                                PO Box 82505
                                Lincoln, NE 68501



                                Discover
                                P.O. Box 60136
                                City of Industry, CA 91716




                                Factoring XP
                                16850 Collins Ave 112414
                                North Miami Beach, FL 33160




                                First Premier Bank
                                3820 N Louise Ave
                                Sioux Falls, SD 57107




                                Fleet One
                                5042 Linbar Dr
                                Nashville, TN 37211
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                                Foley




                                Gabriela Sanchez




                                Genesis FS Card Services
                                Attn: Bankruptcy
                                PO Box 4477
                                Beaverton, OR 97076



                                Greensky Llc
                                Attn: Bankruptcy Attn: Bankruptcy
                                1797 Northeast Expy NE , Ste 100
                                Atlanta, GA 30329-2451



                                Loanpal, LLc
                                Attn: Bankruptcy
                                8781 Sierra College Blvd.
                                Roseville, CA 95661



                                Mb Fin Svcs
                                2050 Roanoke Rd
                                Westlake, TX 76262




                                MB Financial Services
                                2050 Roanoke Rd
                                Roanoke, TX 76262




                                MBFS
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                                Mercedes Benz Credit
                                PO Box 685
                                Westlake, TX 76262




                                Navient
                                Attn: Bankruptcy
                                PO Box 9640
                                Wilkes-Barre, PA 18773



                                Navy FCU
                                Attn: Bankruptcy
                                PO Box 3000
                                Merrifield, VA 22119



                                Navy Federal Credit Union
                                P O Box 3000
                                Merrifield, VA 22119-3000




                                NDD
                                14500 Dallas Parkway
                                Dallas, TX 75254




                                OneMain Financial
                                Attn: Bankruptcy
                                PO Box 3251
                                Evansville, IN 47731



                                Presby Cu
                                10670 N Central
                                Dallas, TX 75231




                                Quick Bridge Funding, LLC
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                                Resource One Credit Union
                                Attn: Bankruptcy
                                PO Box 660077
                                Dallas, TX 75266



                                RISE Credit
                                Attn: Bankruptcy
                                PO Box 101808
                                Fort Worth, TX 76185



                                Sallie Mae, Inc
                                Attn: Bankruptcy
                                PO Box 9500
                                Wilkes Barre, PA 18773



                                Small Business Admin
                                14925 Kingsport Rd.
                                Fort Worth, TX 76155




                                Small Business
                                Administration
                                1545 Hawkins Blvd Suite 202
                                El Paso, TX 79925-2652



                                Syncb
                                Attn: Bankruptcy
                                PO Box 965060
                                Orlando, FL 32896-5060



                                Synchrony Bank/Amazon
                                Attn: Bankruptcy Dept.
                                PO Box 965064
                                Orlando, FL 32896



                                Synchrony Bank/TJX
                                FL 32896
                                Attn: Bankruptcy
                                Orlando,
                                PO Box 956060
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                                Target Nb
                                Mailstop BT
                                PO Box 9475
                                Minneapolis, MN 55440



                                Wells Fargo/Dillards
                                Attn: Bankruptcy
                                PO Box 10438 MAC F8235-02F
                                Des Moines, IA 50306
